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                   EXHIBIT L
Open source royalty and mad kings                          https://world.hey.com/dhh/open-source-royalty-and-mad-kings-a8f79d16
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                                                 October 13, 2024


                   Open source royalty and mad kings
           I'm solidly in favor of the Benevolent Dictator For Life (BDFL) model of open source
           stewardship. This is how projects from Linux to Python, from Laravel to Ruby, and yes,
           Rails, have kept their cohesion, decisiveness, and forward motion. It's a model with
           decades worth of achievements to its name. But it's not a mandate from heaven. It's not
           infallible.

           Now I am loathe to even open this discussion. Because I've weathered more than my
           fair share of bad-faith attempts on my own stewardship, and witnessed the show trials
           of several others. It doesn't take much for contentious issues within a project, or
           societal moral panics outside it, to seed dethroning mobs. Which will hijack then
           eulogize The Will of The Community, as though that somehow deserved the mandate
           from heaven.

           Half the advantage of the BDFL model is exactly in allowing for unpopular decisions to
           be made without the lethargic mores of committees and bureaucracy! Open source is
           not a democracy, and we all beneﬁt from that fact, whether we accept it or not.

           So what follows is not a categorical argument. I believe in the social utility of an open
           source royalty. One crowned on the virtues of initiative, perseverance, contributions, and
           technical excellence.

           Matt Mullenweg has earned his crown in the land of WordPress. He created the system,
           and for twenty years has been its prime champion and cheerleader. His achievements
           are obvious. Half the damn internet runs on WordPress! There's an industry worth
           billions feeding theme designers, plugin makers, hosting companies, and Matt's own
           Automattic enterprise. It's a ﬁrst-rate open source success story.



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           But it's also one that has taken a dark turn since Automattic went to war with WP Engine
           (WPE) over a claim that the latter pay 8% of its revenues as a tithe approximate under
           the guise of "giving back more". The leverage of extraction started as a spurious
           trademark claim, but has since escalated into what WPE has alleged as extortion, and
           what I see as a seemingly never-ending series of dramatic overreaches and breaches of
           open source norms. Especially the introduction of the login loyalty oath, and now with
           the expropriation of WPE's Advanced Custom Fields (ACF) plugin.

           That's a lot, so let's start from the end. The most recent escalation, and, in my opinion,
           the most unhinged, is the expropriation of the ACF plugin. Automattic ﬁrst answered
           WPE's lawsuit by blocking engineers from the latter from accessing the WordPress.org
           plugin registry, which is used to distribute updates and security patches. It then used
           the fact that WPE no longer had access to the registry to expropriate the plugin,
           including reviews and download stats!! The ACF entry now points to Automattic's own
           Secure Custom Fields.

           For a dispute that started with a claim of "trademark confusion", there's an incredible
           irony in the fact that Automattic is now hijacking users looking for ACF onto their own
           plugin. And providing as rational for this unprecedented breach of open source norms
           that ACF needs maintenance, and since WPE is no longer able to provide that (given
           that they were blocked!), Automattic has to step in to do so. I mean, what?!

           Imagine this happening on npm? Imagine Meta getting into a legal dispute with
           Microsoft (the owners of GitHub, who in turn own npm), and Microsoft responding by
           directing GitHub to ban all Meta employees from accessing their repositories. And then
           Microsoft just takes over the oﬃcial React repository, pointing it to their own Super
           React fork. This is the kind of crazy we're talking about.

           Weaponizing open source code registries is something we simply cannot allow to form
           precedence. They must remain neutral territory. Little Switzerlands in a world of
           constant commercial skirmishes.

           And that's really the main reason I care to comment on this whole sordid ordeal. If this
           ﬁght was just one between two billion-dollar companies, as Automattic and WPE both
           are, I would not have cared to wade in. But the principles at stake extend far beyond the
           two of them.

           Using an open source project like WordPress as leverage in this contract dispute, and



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